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11
12                                    UNITED STATES DISTRICT COURT
13                                    EASTERN DISTRICT OF CALIFORNIA
14
15 RALPH COLEMAN, et al.,                                Case No. 2:90-CV-00520-KJM-DB
16                      Plaintiffs,                      MARCH 15, 2021 JOINT REPORT
                                                         ADDRESSING CURRENT COVID-19
17                 v.                                    RELATED DEPARTURES FROM
                                                         PROGRAM GUIDE REQUIREMENTS
18 GAVIN NEWSOM, et al.,
19                      Defendants.                      Judge: Hon. Kimberly J. Mueller
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27
28
     [3705141.1]
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         MARCH 15, 2021 JOINT REPORT ADDRESSING CURRENT COVID-19 RELATED DEPARTURES FROM
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 1                 On April 17, 2020, the Court ordered the parties to file a stipulation identifying
 2 “temporary departures from certain Program Guide requirements” for the provision of
 3 mental health care arising from Defendants’ efforts to respond to the COVID-19
 4 pandemic. ECF No. 6622 at 2-3 (Apr. 17, 2020). On May 20, 2020, the parties submitted
 5 a stipulation and proposed order as the Court directed. See ECF No. 6679 (May 20, 2020).
 6 That stipulation set forth a process whereby the parties, on a monthly basis, would meet
 7 and confer, under the supervision of the Special Master, and report to the Court on updated
 8 changes to the stipulation and its attachment, Appendix A. See id. at 4-5. The parties filed
 9 updates to Appendix A, along with stipulations, on June 15, 2020, see ECF No. 6718, and
10 July 15, 2020, see ECF No. 6761.
11                 The Court disposed of the parties’ May 20 stipulation without adopting it in the
12 July 28, 2020 Order, ECF No. 6791 (“July 28 Order”). By minute order, the Court
13 required the parties to continue to provide monthly updates regarding changes to
14 Appendix A on the fifteenth of every month except for August 2020. See Minute Order,
15 ECF No. 6814 (Aug. 14, 2020). On August 21, 2020, the parties submitted their
16 August monthly update, along with “their positions on the path to full resumption of
17 Program Guide level mental health care assuming the COVID-19 pandemic has not abated
18 and will not abate for some time,” July 28 Order at 3, and their agreement that the monthly
19 update process should continue, see Jt. Report Addressing Current COVID-19-Related
20 Departures from Program Guide Requirements & Resumption of Program Guide Mental
21 Health Care, ECF No. 6831 (Aug. 21, 2020).
22                 The parties hereby submit the attached updated version of Appendix A, which
23 captures as of the date of this filing the status of COVID-19-related departures from
24 requirements set forth in the Program Guide and/or policies listed in the “Compendium of
25 Custody Related Measures,” see ECF No. 6661 at 2, jointly filed by the parties on
26 December 19, 2019, ECF No. 6431 (“Compendium policies”).
27 / / /
28 / / /
     [3705141.1]
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         MARCH 15, 2021 JOINT REPORT ADDRESSING CURRENT COVID-19 RELATED DEPARTURES FROM
                                    PROGRAM GUIDE REQUIREMENTS
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 1         1.     The chart attached hereto as Appendix A identifies three additional policies
 2 that clarify, update, or revise portions of existing policies already included in Appendix A.
 3 Appendix A includes policies that depart from the Program Guide and/or Compendium
 4 policies in Defendants’ efforts to manage the delivery of mental health care during
 5 COVID-19. True and correct copies of the three policies—the March 1, 2021 Updated
 6 Draft COVID Temporary Guidelines for Transfer to DSH Inpatient Care; March 3, 2021
 7 Memo – Clarification – COVID-19 Pandemic and Guidance Regarding Field Operations;
 8 and February 19, 2021 Memo – COVID-19 Screening and Testing Matrix for Movement
 9 of Newly Resolved Reception Center Patients to Institutions—are attached hereto as part
10 of Appendix A.
11         2.     One of the Appendix A policies added to the September 2020 update—the
12 August 14, 2020 Institutional Roadmap to Reopening (“Roadmap”)—addresses the
13 quantity and modalities of mental health treatment provided within CDCR. Defendants
14 have agreed to report on institutions’ movement between Roadmap “phases” prior to each
15 COVID Taskforce Meeting, or every two weeks. True and correct copies of two Roadmap
16 phase reports, including point-in-time data as of March 2, 2021 and March 15 2021, are
17 attached hereto as Exhibit 6. These reports show the progress of each facility by phase,
18 with phase one being the most restrictive and phase four being the least restrictive. The
19 parties will continue to meet and confer regarding the Roadmap phase report, including as
20 to its content and format, as appropriate.
21         3.     The status of several of Defendants’ pandemic policies is currently unclear.
22 In September, Defendants indicated that the Roadmap and the August 19 version of the
23 Movement Matrix resulted in the need to revise some existing pandemic policies and/or to
24 recognize that some had been superseded. On November 5, 2020, Defendants circulated a
25 draft policy titled “Draft COVID Mental Health and Custody Guidance” (“Draft COVID
26 Guidance”), which states its intent to supersede several additional pandemic policies. On
27 November 10, 2020 and December 9, 2020, Plaintiffs provided preliminary comments on
28 the Draft COVID Guidance. Plaintiffs provided written comments on the Draft COVID
   [3705141.1]
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      MARCH 15, 2021 JOINT REPORT ADDRESSING CURRENT COVID-19 RELATED DEPARTURES FROM
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 1 Guidance on January 12, 2021. Defendants are in the process of reviewing Plaintiffs’
 2 comments and are considering the necessity for the revision of the original April 10 and
 3 April 17, 2020 policies in light of the February 8 Directive from Dr. Mehta. At this time,
 4 Defendants are focused on eliminating the remaining inpatient waitlist with the goal of
 5 significantly reducing or ending the use of TMHUs. In addition, Defendants are in the
 6 process of reviewing the Roadmap and the March 25, 2020 COVID-19 Mental Health
 7 Delivery of Care Guidance & Tier Document to determine whether changes are necessary.
 8         Also on January 12, Defendants circulated a revised January 8, 2021 version of the
 9 Movement Matrix. The January 8 Movement Matrix incorporates some of Plaintiffs’
10 comments and feedback, provided in a December 4, 2020 letter, and by email and
11 teleconference on December 9, 2020.
12         After further discussion, the parties provisionally agree that the Roadmap, January 8
13 Movement Matrix, and Draft COVID Guidance, if and when implemented, will supersede
14 in whole or part the following pandemic policies currently included in Appendix A:
15         (1)    COVID-19 Mental Health Delivery of Care Guidance & Tier Document
16 (Mar. 25, 2020);
17         (2)    COVID Emergency Mental Health Treatment Guidance and COVID
18 Temporary Transfer Guidelines and Workflow (Apr. 10, 2020);
19         (3)    COVID Emergency Mental Health Treatment Guidance for MAX Custody
20 Patients and COVID EOP Temporary Transfer Guidelines and Workflow (Apr. 17, 2020);
21 and
22         (4)    COVID-19 Patient Movement for Mental Health Treatment (May 11, 2020).
23         On February 11, 2021, Defendants provided Plaintiffs and the Special Master the
24 February 8 Directive, which modifies in part both the April 10 and 17 policies listed
25 above. Specifically, while certain COVID-19 safety protocols for PIP and MHCB
26 transfers remain in place, individual transfers to and from PIP and MHCB units will no
27 longer be subject to review for emergent circumstances. Instead, PIP and MHCB transfers
28 will return to being governed by Program Guide requirements and processes, and
   [3705141.1]
                                              4
      MARCH 15, 2021 JOINT REPORT ADDRESSING CURRENT COVID-19 RELATED DEPARTURES FROM
                                 PROGRAM GUIDE REQUIREMENTS
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 1 individual class members’ vaccination status will not prevent them from transferring to
 2 inpatient levels of care. Due to the backlog of patients awaiting inpatient transfers,
 3 patients will be prioritized according to the following criteria: “emergency transfers in
 4 progress, requests for expedited transfers, patients waiting longest on the wait list, transfers
 5 to less restrictive housing, and other transfers to open up bed space in inpatient settings as
 6 necessary.” February 8 Directive at 1; see also Exhibit 5 (COVID-19 Dashboard showing
 7 patients awaiting inpatient transfers). As Defendants prioritize and work through the
 8 backlog, there will be residual delays in PIP transfers. Defendants represent that the
 9 MHCB backlog has been cleared. Plaintiffs have not had sufficient time to review and
10 evaluate whether this is so. The parties will continue to discuss this issue within the
11 COVID Taskforce.
12                 The parties will continue to meet and confer, under the supervision of the Special
13 Master, to clarify any other implications of the February 8 Directive and address any
14 concerns with its operation and implementation, as appropriate.
15                 4.     As of the September 15, 2020 update, Defendants indicated they were in the
16 process of reviewing all policies in Appendix A to ensure they are up to date and
17 consistent with each other. Defendants also stated that a memo to the field would be
18 necessary to clarify the status of these policies, once the review is complete. The Draft
19 COVID Guidance is one such memo. Defendants represent that notification to the field
20 about the operative status of policies found in Appendix A will coincide with the eventual
21 finalization of the Draft COVID Guidance.
22                 Plaintiffs believe that any clarifying memo to the field should also address the status
23 of the COVID-19 Surge Mitigation and Management Plan attached as Exhibit 7 to the
24 September 15, 2020 Program Guide Departures Update.
25                 The parties will continue to meet and confer regarding these policies to clarify
26 terms and intent; work out implementation of the policies with regard to Coleman class
27 members; and address Defendants’ reporting on the impacts of the memos.
28                 5.     In their May 20, 2020, stipulation, Defendants agreed to provide certain
     [3705141.1]
                                                          5
         MARCH 15, 2021 JOINT REPORT ADDRESSING CURRENT COVID-19 RELATED DEPARTURES FROM
                                    PROGRAM GUIDE REQUIREMENTS
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 1 reports to the Special Master and Plaintiffs. See ECF No. 6679 at 3-5, ¶ 2. Defendants
 2 began producing reports the week of May 25, 2020. Redacted copies of those reports are
 3 appended hereto:
 4                 b.     Tier Reports, February 8-12, 2021; February 16-19, 2021; February
 5 22-26, 2021; March 1-5, 2021, Exhibit 1;
 6                 c.     Shower and Yard in Segregation Compliance Report for February
 7 2021, Exhibit 2;
 8                 d.     TMHU 114-A Tracking Log Report for February 2021, Exhibit 3.
 9 This report also integrates the report on the custody reviews of Max Custody patients
10 referred to a TMHU. See ECF No. 6679 at 3-4, ¶ 2(c); and
11                 e.     On Demand Patient’s Pending Inpatient Transfer Registry accessed
12 March 15, 2021, Exhibit 4.
13                 f.     COVID-19 Mental Health Dashboard, accessed March 15, 2021,
14 Exhibit 5.
15           The parties have agreed on the form of the Tier Reports. 1 See ECF No. 6679 at 3,
16 ¶ 2(a). On October 9, 2020, Defendants finalized updating the TMHU Registry, see id.,
17 ¶ 2(b), and replaced it with the Patient’s Pending Inpatient Transfer Registry. The Patients
18 Pending Inpatient Transfer Registry includes data on (1) all patients housed in a TMHU,
19 (2) patients referred to an acute bed and not housed in a TMHU, crisis bed, or psychiatric
20 inpatient program, and (3) patients referred to intermediate care and not housed in a
21 TMHU, crisis bed, or psychiatric inpatient program.
22           Plaintiffs provided written comments on the Patients Pending Inpatient Transfer
23 Registry on November 24, 2020. Defendants responded by letter December 11, 2020. The
24 parties met and conferred regarding the Patients Pending Inpatient Transfer Registry on
25 January 8, 2021, resolving several outstanding issues. Plaintiffs continue to have concerns
26
27
     In contrast to the Roadmap Phase Report, the first tier of the Tier Report is the least
     1

28 restrictive, while the fourth tier is the most restrictive.
   [3705141.1]
                                                    6
         MARCH 15, 2021 JOINT REPORT ADDRESSING CURRENT COVID-19 RELATED DEPARTURES FROM
                                    PROGRAM GUIDE REQUIREMENTS
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 1 that Defendants’ reporting mechanisms do not capture class members referred to an
 2 MHCB but not housed in an MHCB or TMHU. Defendants confirmed they are continuing
 3 to work to make several updates to the Registry based on Plaintiffs’ feedback. The parties
 4 will continue to meet and confer as necessary.
 5                 The parties have had ongoing discussions regarding the Shower and Yard in
 6 Segregation Compliance Report, id. at 4, ¶ 2(d), and the TMHU 114-A Tracking Log
 7 Report, id. at 3, 4 ¶¶ 2(c), (e). See ECF No 6761 at 3 (July 15, 2020). During a January 8,
 8 2021 meet and confer, Plaintiffs exhausted their questions regarding the Shower and Yard
 9 in Segregation Compliance Report (“Shower and Yard Report”). During the January 8
10 meet and confer, Defendants explained that pending revisions to the TMHU 114-A
11 Tracking Log Report, incorporating input from the Special Master’s team, awaited
12 finalization of the Draft COVID Guidance. As discussed above, Plaintiffs submitted
13 written comments on the Draft COVID Guidance on January 12, 2021. On January 13,
14 2021, Defendants clarified the additional information that will be included in the revised
15 114-A Tracking Log Report.
16                 At the March 2, 2021 Taskforce meeting, the Special Master raised additional
17 questions regarding the Shower and Yard Reports and the TMHU 114-A Tracking Logs.
18 Specifically, Defendants confirmed that the Shower and Yard Report does not report
19 whether class members in TMHUs located within existing segregation units are offered
20 shower and yard. At the institution level, individuals in TMHUs located within existing
21 segregation units are administratively separated, for tracking purposes, from other
22 individuals in segregations units. Plaintiffs have asked Defendants to add a footnote to
23 future Shower and Yard Reports to identify this exclusion from the reported data.
24 Defendants provided the Shower and Yard Report in response to Plaintiffs’ request for
25 data on the property and privileges offered to segregated inmates with mental illness
26 during COVID, not in response to any data request associated with the TMHUs.
27 Nonetheless, Defendants agree to add such a footnote.
28                 In addition, CDCR did not receive adequate documentation to confirm whether
     [3705141.1]
                                                        7
         MARCH 15, 2021 JOINT REPORT ADDRESSING CURRENT COVID-19 RELATED DEPARTURES FROM
                                    PROGRAM GUIDE REQUIREMENTS
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 1 certain individuals in TMHUs have been offered showers. In the past, when CDCR did
 2 not receive adequate documentation for any field on the TMHU 114-A Tracking Logs,
 3 including showers, CDCR noted on the Log that the activity did not occur or was not
 4 offered. CDCR is working with the institutions on fixing the documentation issue to
 5 improve the accuracy of reporting on the TMHU 114-A Tracking Logs going forward.
 6 Plaintiffs have asked Defendants to identify in the 114-A Tracking Logs where they are
 7 lacking documentation sufficient to accurately report on programs or services provided.
 8 Defendants are considering this request.
 9         The parties will continue to meet and confer regarding the status of the TMHU 114-
10 A Tracking Log Report and revisions, and the Shower and Yard Reports.
11         6.     On May 20, 2020, the parties reported that they were still negotiating the
12 data Defendants can provide regarding the average number of hours of out-of-cell
13 treatment, including yard and recreation time, offered per week, as well as the status of
14 available entertainment devices and other in-cell activities for all class members in mental
15 health segregation units. In meet and confer discussions, Defendants reported that they do
16 not have the capability to report on this information because none of this data is currently
17 automated and they lack a single source of tracking information that could be used to
18 provide a report on these issues. Defendants reported that, in lieu of a headquarters-level
19 automated tracking report, their typical practice is to regularly audit many of these items
20 via on-site audits by Mental Health Regional Administrators. While on-site audits were
21 temporarily paused due to the COVID-19 pandemic, they resumed in mid-July 2020.
22 Since that time, Defendants have inspected twenty-two institutions and collected data on
23 the operation of mental health segregation units at those institutions.
24         During the January 8, 2021 meet and confer, the parties discussed the status of these
25 segregation audits, the methodology for performing the audits, and the status of
26 Defendants’ reporting on them. Defendants agreed to provide all mental health
27 segregation unit data and information collected during the audit process to Plaintiffs,
28 including data and information collected since the resumption of onsite monitoring in
   [3705141.1]
                                                8
      MARCH 15, 2021 JOINT REPORT ADDRESSING CURRENT COVID-19 RELATED DEPARTURES FROM
                                 PROGRAM GUIDE REQUIREMENTS
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 1 July 2020. Defendants provided some of this data and information and the parties filed it
 2 with the January 15, 2021 Program Guide Departures update. Attached hereto as
 3 Exhibit 7 are true and correct copies of five additional onsite audits, conducted at SAC,
 4 PVSP, SATF, NKSP, and COR.
 5                 During the January 8, 2021 meet and confer, Defendants explained that the on-site
 6 audits use a portion of the Continuous Quality Improvement Tool (CQIT). The parties
 7 agree that any questions about the process or methodology of these on-site custody audits
 8 should be raised through the existing CQIT update process or ongoing discussions
 9 regarding the process of certifying Administrative Segregation Unit Enhanced Outpatient
10 Program Hubs.
11                 Plaintiffs remain concerned about Defendants’ inability to effectively track and
12 report on these requirements at the headquarters level, and about Defendants’ reliance on
13 on-site audits as a general matter given Plaintiffs’ concerns about the PSU and EOP ASU
14 hub certification process. The parties nonetheless agree to continue to meet and confer
15 about these issues as necessary under the supervision of the Special Master.
16 DATED: March 15, 2021                           ROSEN BIEN GALVAN & GRUNFELD LLP
17
18                                                 By: /s/ Jessica Winter
                                                       Jessica Winter
19
20                                                 Attorneys for Plaintiffs

21
22 DATED: March 15, 2021                           XAVIER BECERRA
                                                   Attorney General of California
23
                                                   By: /s/ Lucas Hennes
24
                                                       Lucas Hennes
25                                                     Deputy Attorney General
26
                                                   Attorneys for Defendants
27
28
     [3705141.1]
                                                         9
         MARCH 15, 2021 JOINT REPORT ADDRESSING CURRENT COVID-19 RELATED DEPARTURES FROM
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                 APPENDIX A
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                                    Appendix A

  Policy,              Program Guide or
  Memorandum, or       Related Policy
  Guidelines           Provision                Summary of Departure

  *COVID-19 Mental     Stipulation and Order    •    Permits telepsychiatry broadly,
  Health Delivery of   Approving CDCR’s              including in PIPs and MHCBs,
  Care Guidance &      Telepsychiatry Policy,        without a finding of emergency
  Tier Document        ECF No. 6539
  (Mar. 25, 2020)      (Mar. 27, 2020)          •    Telepsychiatry not treated as a
                                                     supplement, but rather a
                       Program Guide 12-1-           substitute, for in-person
                       12 & Attachment A             psychiatry at EOP and higher
                       (confidentiality)             levels of care

                                                •    Permits use of tele-psychology

                                                •    Approval for use of
                                                     telepsychiatry is made by the
                                                     hiring authority, and may be
                                                     preferred modality of providing
                                                     psychiatry services

                                                •    Telepsychiatrists may provide
                                                     telepsychiatry services from
                                                     their homes during regular work
                                                     hours, rather than from
                                                     telepsychiatry hubs

                                                •    Each institution can decide
                                                     which telepresenters can be
                                                     used, including: MA or CNA,
                                                     and any healthy staff unable to
                                                     perform their assigned duties
                                                     during the crisis (with training).

                                                •    Telepsychiatry providers not
                                                     required to conduct site-visits at
                                                     any particular frequency

                                                •    Registry telepsychiatrists may
                                                     be used without limitation



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  Memorandum, or     Related Policy
  Guidelines         Provision                  Summary of Departure

                                                •      Patients may not have an option
                                                       to refuse telepsychiatry as a
                                                       treatment modality

                                                •      On-site psychiatrists may not be
                                                       available if a clinical emergency
                                                       occurs during a telepsychiatry
                                                       session

                                                •      Confidential space for
                                                       telepsychiatry contacts may not
                                                       be available

                                                •      Nurse practitioners may provide
                                                       telepsychiatry services

                                                •      Requires telepresenters for
                                                       telepsychiatry, but clinical and
                                                       other telepsychiatry support-
                                                       staff may not be available

                     Mental Health              Decisions on admission and discharge
                     Services Delivery          subject to day-to-day analysis of
                     System Program             staffing, individual patient needs,
                     Guide, 2020 Revision       space availability, social distancing,
                     (“Program Guide”) at       restrictions on movement, quarantine
                     12-1-16 (timelines for     and isolation status, and the degrees of
                     level of care transfers)   risk when making these decisions.

                     Program Guide at 12-
                     3-1 to 2, 12-3-12 to
                     14, 12-4-1, 12-4-6 to
                     8, 12-4-13, 12-4-16,
                     12-4-20 to 21, 12-5-1,
                     12-5-3 to 10, 12-5-15,
                     12-5-26 to 29, 12-5-
                     32, Chapter 6, 12-7-2
                     to 8, 12-7-11, 12-7-12,
                     12-8-1, 12-8-5 to 7,


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  Policy,            Program Guide or
  Memorandum, or     Related Policy
  Guidelines         Provision                 Summary of Departure
                     12-8-9, 12-8-11 to 12,
                     12-9-2 to 3, 12-9-4 to
                     5, 12-9-6, 12-9-12 to
                     14, 12-10-12 to 13,
                     12-10-19 to 21 (access
                     to higher levels of
                     care)

                     Program Guide at 12-      Groups may not be offered, depending
                     3-2 to 4, 12-3-11, 12-    on space, staffing, and quarantine or
                     4-1 to 2, 12-4-8 to 12,   isolation status. Groups that do
                     12-4-18 to 21; 12-5-      continue may be reduced in size in
                     14, 12-5-33 to 34, 12-    order to adhere to social distancing
                     7-7, 12-7-10, 12-8-4,     requirements.
                     12-8-10, 12-9-7 to 9,
                     12-10-14 (availability    Larger classrooms or vocational space
                     of treatment              could be used to allow for smaller
                     modalities)               groups.

                                               Patients in isolation and/or quarantine
                                               will not attend groups but shall be
                                               provided with activities and receive
                                               daily rounding.

                     Program Guide 12-1-       Groups may not be confidential if
                     12 & Attachment A         placed in an alternative location (e.g.
                     (confidentiality          day room, classrooms) or due to social
                     requirements)             distancing purposes.

                     Program Guide 12-1-       Contacts with IDTT may be cell front
                     12 & Attachment A         and non-confidential.
                     (confidentiality
                     requirements)

                     Program Guide at 12-      Patients may be limited to in-cell
                     3-2 to 4, 12-3-11, 12-    activities only.
                     4-1 to 2, 12-4-8 to 12,
                     12-4-18 to 21; 12-5-      Patients housed in a MHCB awaiting
                     14, 12-5-33 to 34, 12-    transfer to a higher level of care and
                     7-7, 12-7-10, 12-8-4,     patients in alternative housing awaiting


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  Policy,            Program Guide or
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  Guidelines         Provision                 Summary of Departure
                     12-8-10, 12-9-7 to 9,     transfer to a MHCB will be provided
                     12-10-14 (availability    enhanced out-of-cell time and
                     of treatment              therapeutic activities as well as daily
                     modalities)               rounds, as operations allow.

                     Program Guide at 12-      Patients may not receive SRASHEs if
                     5-7 to 8, 12-5-10, 12-    suicidal, but may instead be screened
                     5-31, 12-10-7 to 12       using the Columbia screening tool.

                     Program Guide at 12- Depending on the institution’s Tier
                     1-6, 12-1-16, 12-3-1 to level, patients may be placed in
                     2, 12-5-4               alternative housing for longer than 24
                                             hours. Within 24 hours of placement
                     Order, ECF No. 5710 or if patient remains longer than 24
                     (Oct. 10, 2017)         hours, a full SRASHE must be
                                             completed.
                     CCHCS Policy
                     12.05.301: Housing of
                     Patients Pending
                     Mental Health Crisis
                     Bed Transfers

                     Program Guide at 12-      As patients wait for inpatient referrals
                     3-2 to 4, 12-3-11, 12-    to process, they may not receive
                     4-1 to 2, 12-4-8 to 13,   treatment commensurate with their
                     12-4-18 to 21, 12-5-      level of care.
                     14, 12-5-33 to 34, 12-
                     7-7, 12-7-10, 12-8-4,
                     12-8-10, 12-9-7 to 9,
                     12-10-14 (availability
                     of treatment
                     modalities)

                     Program Guide
                     Chapters 5, 6

                     Program Guide 12-1-       Symptomatic patients shall be isolated
                     16 (timelines for level   from other patients in the general
                     of care transfers)        population and will not transfer absent
                                               showing of legal or medical necessity.


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  Policy,            Program Guide or
  Memorandum, or     Related Policy
  Guidelines         Provision                  Summary of Departure

                     Program Guide at 12-
                     3-1 to 2, 12-3-12 to
                     14, 12-4-1, 12-4-13,
                     12-4-16, 12-4-20 to
                     21, 12-5-2, 12-5-3 to
                     10, 12-5-15, 12-5-26
                     to 29, 12-5-32,
                     Chapter 6, 12-7-2 to 8,
                     12-7-11, 12, 12-8-1, 5
                     to 7, 9, 11 to 12, 12-9-
                     2 to 3, 4 to 5, 6, 12 to
                     14, 12-10-12 to 13, 19
                     to 21 (access to higher
                     levels of care)

                     Program Guide at 12-
                     3-2 to 4, 12-3-11, 12-
                     4-1 to 2, 12-4-8 to 12,
                     12-4-18 to 21, 12-5-
                     14, 12-5-33 to 34, 12-
                     7-7, 10, 12-8-4, 10,
                     12-9-7 to 9, 12-10-14
                     (availability of
                     treatment modalities)

                     Program Guide at 12-       Pre-release planning activities may be
                     1-4, 12-3-3 to 4, 12-4-    limited to varying degrees.
                     10 to 11, 12-4-13
                                                All required activities to occur when
                     Memo: Release              social distancing can be followed.
                     Planning for Inmates
                     Participating in the
                     Institution’s Mental
                     Health Services
                     Delivery System (Mar.
                     11, 2010), Program
                     Guide, Appendix C,
                     see ECF No. 5864-1 at
                     276-82.


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  Policy,            Program Guide or
  Memorandum, or     Related Policy
  Guidelines         Provision                 Summary of Departure

                     Program Guide at 12-      1:1 contacts with psychiatrists may not
                     3-2 to 4, 12-3-11, 12-    occur within timeframes.
                     4-1 to 2, 12-4-8 to 12,
                     12-4-18 to 21, 12-5-
                     14, 12-5-33 to 34, 12-
                     7-7, 12-7-10, 12-8-4,
                     12-8-10, 12-9-7 to 9,
                     12-10-14 (availability
                     of treatment
                     modalities)

                     Program Guide at 12-
                     3-14 to 15, 12-4-9, 12-
                     4-14 to 15, 12-4-19,
                     20, 12-5-14, 12-5-33,
                     12-7-4, 12-7-6, 12-7-
                     7, 12-7-10, 12-7-13,
                     12-8-4, 12-8-9 to 11,
                     12-9-6 to 8 (primary
                     clinician contacts)

                     Program Guide at 12-      1:1 contacts with psychologists or
                     3-2 to 4, 12-3-11, 12-    social workers may not occur within
                     4-1 to 2, 12-4-8 to 12,   timeframes.
                     12-4-18 to 21, 12-5-
                     14, 12-5-33 to 34, 12-
                     7-7, 12-7-10, 12-8-4,
                     12-8-10, 12-9-7 to 9,
                     12-10-14 (availability
                     of treatment
                     modalities)

                     Program Guide at 12-
                     3-14 to 15, 12-4-9, 12-
                     4-14 to 15,12-4-19,
                     20, 12-5-14, 12-5-
                     33,12-7-4, 12-7-6, 12-
                     7-7, 12-7-10, 12-7-13,
                     12-8-4, 12-8-9 to 11,


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  Policy,            Program Guide or
  Memorandum, or     Related Policy
  Guidelines         Provision                 Summary of Departure
                     12-9-6 to 8 (primary
                     clinician contacts)

                     Program Guide at 12-      1:1 suicide watch may not occur where
                     3-2 to 4, 12-3-11, 12-    clinically indicated.
                     4-1 to 2, 12-10-15 to
                     19 (availability of
                     treatment modalities)

                     Program Guide 12-3-2      Any physician, nurse practitioner, or
                     (psychiatrists as         physician assistant can serve as a
                     primary clinicians)       psychiatrist.

                     Program Guide at 12-
                     3-14 to 15, 12-4-9, 12-
                     4-14 to 15, 12-4-19,
                     20, 12-5-14, 12-5-33,
                     12-7-4, 12-7-6, 12-7-
                     7, 12-7-10, 12-7-13,
                     12-8-4, 12-8-9 to 11,
                     12-9-6 to 8 (primary
                     clinician contacts)

                     Program Guide at 12-      Psychiatrist duties may be triaged only
                     3-2 to 4, 12-3-11, 12-    to serve urgent or emergent needs.
                     4-1 to 2, 12-4-8 to 12,
                     12-4-18 to 21, 12-5-
                     14, 12-5-33 to 34, 12-
                     7-7, 12-7-10, 12-8-4,
                     12-8-10, 12-9-7 to 9,
                     12-10-14 (availability
                     of treatment
                     modalities)

                     Program Guide at 12-
                     3-14 to 15, 12-4-9, 12-
                     4-14 to 15, 12-4-19,
                     20, 12-5-14, 12-5-33,
                     12-7-4, 12-7-6, 12-7-
                     7, 12-7-10, 12-7-13,


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  Policy,                Program Guide or
  Memorandum, or         Related Policy
  Guidelines             Provision                 Summary of Departure
                         12-8-4, 12-8-9 to 11,
                         12-9-6 to 8 (primary
                         clinician contacts)

  COVID-19               Program Guide at 12-      Not congregating in groups of 10 or
  Pandemic –             3-2 to 4, 12-3-11, 12-    more individuals and suspending
  Guidance               4-1 to 2, 12-4-8 to 12,   group programs where participants are
  Regarding Field        12-4-18 to 21, 12-5-      likely to be in close contact.
  Operations (Mar.       15, 12-5-33 to 34, 12-
  18, 2019, revised      7-7, 10, 12-8-10, 12-9-
  Mar. 20, 2020)         7 to 9, 12-10-14
                         (availability of
                         treatment modalities)

                         February 14, 2017
                         memorandum titled
                         Mental Health Crisis
                         Bed Privileges
                         Revision, Program
                         Guide, Appendix C,
                         see ECF No. 5864-1 at
                         349.

  Restricted housing,    September 22, 2016        Extends phone call privileges for those
  Reception Centers,     memorandum                in segregated housing, reception
  PIP Phone Calls        regarding Reception       centers, and PIPs beyond what is
  (Apr. 8, 2020)         Center Privileges for     permitted by privilege group.
                         EOPs, see ECF No.
                         6431 at 4.

  *COVID-19              Program Guide at 12-      Implementation of third watch
  Programming            3-2 to 4, 12-3-11, 12-    programming opportunities within
  Opportunities for      4-1 to 2, 12-4-8 to 12,   restricted housing. If mental health
  Inmates                12-4-18 to 21, 12-5-      groups and 1:1 clinical contacts cannot
  Participating in the   14, 12-5-33 to 34, 12-    occur in the restricted housing units,
  MHSDS in               7-7, 12-7-10, 12-8-4,     wardens will ensure PM yard is
  Restricted Housing     12-8-10, 12-9-7 to 9,     offered to those in the MHSDS.
  (Apr. 1, 2020)         12-10-14 (availability




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  Policy,              Program Guide or
  Memorandum, or       Related Policy
  Guidelines           Provision                 Summary of Departure
                       of treatment
                       modalities)

                       Program Guide at 12-
                       3-14 to 15, 12-4-9, 12-
                       4-14 to 15, 12-4-19,
                       20, 12-5-14, 12-5-33,
                       12-7-4, 12-7-6, 12-7-
                       7, 12-7-10, 12-7-13,
                       12-8-4, 12-8-9 to 11,
                       12-9-6 to 8 (primary
                       clinician contacts)

  COVID-19             January 22, 2014       Increase patient access to loaner
  Electronic           Memo – Multi-          electronic appliances.
  Appliance Loaner     Powered Radio
  Program (Apr. 1,     Loaner Program in
  2020)                Administrative
                       Segregation Units; and
                       March 12, 2007
                       Memo – Televisions
                       in Segregation Units,
                       see ECF No. 6431 at
                       4.

  *COVID-19            Program Guide 12-1-8      Creation of TMHUs
  Emergency Mental     to 9, 12-5-1, 12-5-32
  Health Treatment     to 34 (MHCB care          •    Until backlog of PIP and
  Guidance and         provided in licensed           MHCB transfers is worked
  COVID-19             settings)                      through, TMHUs will house
  Temporary                                           and provide services to class
  Transfer             Program Guide 12-1-            members awaiting transfer
  Guidelines and       12 & Attachment A
  Workflow (Apr. 10,   (confidentiality)         •    Group therapy may be reduced
  2020) (As modified                                  to 3-4 people and may be
  by February 8,                                      eliminated. If no groups can be
  2021 direction to                                   run, then yard time in the
  resume Pre-                                         evening should be considered
  COVID-19 PIP and



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  Memorandum, or        Related Policy
  Guidelines            Provision                 Summary of Departure
  MHCB movement         Program Guide 12-1-       •    IDTTs may occur by
  processes.)           16 (timelines for level        teleconference
                        of care transfers) 1
                                                  •    IDTT staffing level varies based
                        Program Guide at 12-           on availability of staff
                        3-1 to 2, 12-3-12 to
                        14, 12-4-1, 12-4-13,    •      Content and delivery of
                        12-4-16, 12-4-20 to            treatment will be based on a
                        21, 12-5-2, 12-5-15,           daily evaluation of the
                        12-5-26 to 29, 12-5-           proportion of staff available for
                        32, Chapter 6, 12-7-2          patient care and direct activities
                        to 8, 12-7-11, 12-7-12,
                        12-8-1, 12-8-5 to 7,    •      Huddles may be telephonic, but
                        12-8-9, 12-8-11 to 12,         only if in-person huddles cannot
                        12-9-2 to 3, 12-9-4 to         be conducted safely
                        5, 12-9-6, 12-9-12 to
                        14, 12-10-12 to 13,     •      Daily out-of-cell individual
                        12-9-19 to 21 (access          treatment offerings with
                        to higher levels of            psychiatrist or primary clinician
                        care)                          will occur whenever possible

                        Program Guide at 12- •         When possible, all PC and
                        3-2 to 4, 12-3-11, 12-         psychiatrist contacts shall be
                        4-1 to 2, 12-4-8 to 12,        conducted in a confidential
                        12-4-18 to 21,12-5-14,         space. Where necessary due to
                        12-5-33 to 34, 12-7-7,         staffing, available treatment
                        12-7-10, 12-8-4, 12-8-         team members may engage in
                        10, 12-9-7 to 9, 12-10-        collaborative cell front tele-
                        14 (availability of            heath treatment sessions using
                        treatment modalities)          portable equipment. It is
                                                       preferable for cell doors to be
                        Program Guide 12-3-
                        9, 12-4-6, 12-5-11 to

         While the February 8 Directive eliminates the emergent transfer review process
              1

for PIP and MHCB transfers, there will continue to be delays in these transfers while
CDCR works through the backlog of waitlisted patients. The parties will continue to
meet and confer, under the supervision of the Special Master, and will update Appendix
A when these timelines are no longer impacted.


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  Guidelines         Provision                 Summary of Departure
                     12, 12-7-12 to 13, 12-          open when conducting this cell
                     8-8, 12-9-5 (required           side treatment modality.
                     IDTT staffing)
                                             •       Permits cell-front tele-mental
                     Program Guide at 12-            health
                     3-14 to 15, 12-4-9, 12-
                     4-14 to 15, 12-4-19,    •       Each institution can decide
                     20, 12-5-14, 12-5-33,           which telepresenters can be
                     12-7-4, 12-7-6, 12-7-           used, including: MA or CNA,
                     7, 12-7-10, 12-7-13,            and any healthy staff unable to
                     12-8-4, 12-8-9 to 11,           perform their assigned duties
                     12-9-6 to 8 (primary            during the crisis (with training)
                     clinician contacts)
                                             •       Upon discharge from TMHU
                                                     and if the IDTT determines the
                                                     patient no longer requires
                                                     inpatient mental health
                                                     treatment, then referral to
                                                     higher level of care shall be
                                                     rescinded

                     Program Guide 12-1-       Enhanced Treatment-in-Place
                     12 & Attachment A
                     (confidentiality)         •     When a patient is referred to an
                                                     inpatient level of care and is
                     Program Guide 12-1-             unable to transfer to an inpatient
                     16 (timelines for level         bed, a TMHU, or is not already
                     of care transfers)              in an inpatient setting, treatment
                                                     will be provided in the patient’s
                     Program Guide at 12-            housing unit until transfer can
                     3-1 to 2, 12-3-12 to            occur (“treatment-in-place”)
                     14, 12-4-1, 12-4-13,
                     12-4-16, 12-4-20 to     •       When possible, all treatment,
                     21, 12-5-2, 12-5-15,            including groups and clinical
                     12-5-26 to 29, 12-5-            contacts, shall be provided in
                     32, Chapter 6, 12-7-2           confidential setting, however
                     to 8, 12-7-11, 12-7-12,         that may not always be possible
                     12-8-1, 12-8-5 to 7,
                     12-8-9, 12-8-11 to 12, •        Primary clinical contacts may
                     12-9-2 to 3, 12-9-4 to          not occur on a daily basis


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  Policy,            Program Guide or
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  Guidelines         Provision                 Summary of Departure
                     5, 12-9-6, 12-9-12 to
                                            •       Group therapy may be reduced
                     14, 12-10-12 to 13,
                                                    to 3-4 people and may be
                     12-10-19 to 21 (access
                                                    eliminated. If no groups can be
                     to higher levels of
                                                    run, then yard time in the
                     care)
                                                    evening should be considered.
                     Program Guide at 12-
                                               •    If in-person huddles cannot be
                     3-2 to 4, 12-3-11, 12-
                                                    conducted safely, then huddles
                     4-1 to 2, 12-4-8 to 12,
                                                    should but are not required to
                     12-4-18 to 21, 12-5-
                                                    occur telephonically
                     14, 12-5-33 to 34, 12-
                     7-7, 12-7-10, 12-8-4,
                     12-8-10, 12-9-7 to 9,
                     12-10-14 (availability
                     of treatment
                     modalities)

                     Program Guide at 12-
                     3-14 to 15, 12-4-9, 12-
                     4-14 to 15,12-4-19,
                     20, 12-5-14, 12-5-33,
                     12-7-4, 12-7-6, 12-7-
                     7, 12-7-10, 12-7-13,
                     12-8-4, 12-8-9 to 11,
                     12-9-6 to 8 (primary
                     clinician contacts)

                     Orders, ECF Nos.
                     6095, 6314 (Feb. 20,
                     2019, Oct. 8, 2019)
                     (requirement
                     implementation of
                     Custody and Mental
                     Health Partnership
                     Plan, including inter-
                     disciplinary huddles)




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  Policy,            Program Guide or
  Memorandum, or     Related Policy
  Guidelines         Provision                  Summary of Departure

                                                Transfer Guidelines and Workflow

                                                •     Plaintiffs will not seek
                                                      contempt sanctions for failures
                                                      to transfer patients in a timely
                                                      manner when the failure
                                                      resulted from COVID-19

                                                •     Patients will be discharged to
                                                      the same facility unless
                                                      irreconcilable custodial
                                                      considerations prevent doing so,
                                                      in which case an additional
                                                      screening step will occur

  Department of      Program Guide 12-1-9       Coleman admissions to DSH resumed
  State Hospitals                               after a 30-day suspension with
  Directive on       Program Guide 12-1-        additional guidelines and protocols
  Suspension of      16 (timelines for level    required to effectuate transfers from
  Admissions from    of care transfers)         CDCR to DSH.
  CDCR to DSH
  (Apr. 15, 2020)    Program Guide at 12-
                     3-1 to 2, 12-3-12 to
                     14, 12-4-1, 12-4-13,
                     12-4-16, 12-5-15, 12-
                     5-26 to 29, 12-5-32,
                     Chapter 6, 12-7-2 to 8,
                     12-7-11, 12-7-12, 12-
                     8-1, 12-8-5 to 7, 12-8-
                     9, 12-8-11 to 12, 12-9-
                     2 to 3, 12-9-4 to 5, 12-
                     9-6, 12-9-12 to 14, 12-
                     10-12 to 13, 12-10-19
                     to 21 (access to higher
                     levels of care)

                     CDCR-DSH MOU
                     and PIP Policy
                     12.11.2101(A) –



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  Policy,              Program Guide or
  Memorandum, or       Related Policy
  Guidelines           Provision                 Summary of Departure
                       Referrals and
                       Admissions

  *COVID-19            Program Guide 12-1-       •    When referred to an inpatient
  Emergency Mental     12 & Attachment A              bed, MAX custody patients
  Health Treatment     (confidentiality)              shall be placed in an inpatient
  Guidance for MAX                                    bed, if one is available within
  Custody Patients     Program Guide 12-1-            the institution, by Health Care
  and COVID-19         16 (timelines for level        Placement Oversight Program
  EOP Temporary        of care transfers)             (HCPOP). If no inpatient bed is
  Transfer                                            available within the institution,
  Guidelines and       Program Guide at 12-
                                                      then the patient is placed under
  Workflow (Apr. 17,   3-1 to 2, 12-3-12 to
                                                      observation as clinically
  2020) (As modified   14, 12-4-1, 12-4-13,
                                                      appropriate until a MAX
  by February 8,       12-4-16, 12-4-20 to
                                                      custody review is completed
  2021 direction to    21, 12-5-2, 12-5-15,
                                                      within the next 24 hours of
  resume Pre-          12-5-26 to 29, 12-5-
                                                      referral.
  COVID-19 PIP and     32, Chapter 6, 12-7-2
  MHCB movement        to 8, 12-7-11, 12-7-12, •      Patients referred to an inpatient
  processes.)          12-8-1, 12-8-5 to 7,           bed for whom MAX custody
                       12-8-9, 12-8-11 to 12,         status is lifted will proceed
                       12-9-2 to 3, 12-9-4 to         through the standard COVID-19
                       5, 12-9-6, 12-9-12 to          Emergency Mental Health
                       14, 12-10-12 to 13,            Treatment Guidance and
                       12-10-19 to 21 (access         COVID-19 Temporary Transfer
                       to higher levels of            Guidelines and Workflow
                       care)                          (Apr. 10, 2020)
                       Program Guide at 12-      •    Patients referred to an inpatient
                       3-2 to 4, 12-3-11, 12-         bed who remain on MAX
                       4-1 to 2, 12-4-8 to 12,        custody status following review
                       12-4-18 to 21, 12-5-           can be sent to a MAX TMHU
                       14, 12-5-33 to 34, 12-         for a maximum of 10 days
                       7-7, 12-7-10, 12-8-4,
                       12-8-10, 12-9-7 to 9,     •    Permits the creation of TMHUs
                       12-10-14 (availability         specific to MAX patients.
                       of treatment                   MAX Custody TMHUs will be
                       modalities)                    located in a segregation setting,
                                                      according to the following



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  Guidelines         Provision               Summary of Departure

                     Program Guide at 12-         priority: EOP ASU Hub/PSU;
                     3-14 to 15, 12-4-9, 12-      STRH/LTRH; ASU.
                     4-14 to 15, 12-4-19,
                                             •    Patients offered 5 hours weekly
                     20, 12-5-14, 12-5-33,
                                                  of structured treatment and 15
                     12-7-4, 12-7-6, 12-7-
                                                  hours weekly of unstructured
                     7, 12-7-10, 12-7-13,
                                                  out of cell time
                     12-8-4, 12-8-9 to 11,
                     12-9-6 to 8 (primary    •    Group therapy occurs only
                     clinician contacts)          where done safely
                     Memo: Creation of       •    IDTT held within 72 hours of
                     Correctional Clinical        placement in MAX TMHU and
                     Case Management              again at 7 days from date of
                     System Short Term            placement
                     and Long Term
                     Restricted Housing      •    At 7-day IDTT, if the patient is
                     (Jan. 15, 2015),             not stabilizing or improving,
                     Program Guide,               they are referred to MHCB and
                     Appendix C, see ECF          transferred to an inpatient
                     No. 5864-1 at 420-24.        setting, potentially at another
                                                  institution, within 10 days from
                                                  date of placement following
                                                  procedures described in the
                                                  COVID-19 Temporary
                                                  Emergency Transfer
                                                  Guidelines.

                                             •    Content and delivery of
                                                  treatment will be based on a
                                                  daily evaluation of the
                                                  proportion of staff available for
                                                  patient care and direct activities

                                             •    If the inpatient referral is based
                                                  on acute suicidality, the patient
                                                  will be placed on 1:1 watch
                                                  until the Treatment Team
                                                  determines what level of



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  Policy,            Program Guide or
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  Guidelines         Provision            Summary of Departure
                                                observation is clinically
                                                necessary

                                          •     If in-person huddles cannot be
                                                accomplished safely then
                                                huddles shall occur
                                                telephonically

                                          •     Individual out-of-cell treatment
                                                by psychiatrist or primary
                                                clinician shall occur daily
                                                whenever possible

                                          •     Group therapy may be reduced
                                                to 3-4 people and should only
                                                be performed where it can
                                                safely be done. It may be
                                                eliminated entirely, in which
                                                case only in-cell treatment
                                                would be provided. If no
                                                groups can be run, then yard
                                                time in the evening should be
                                                considered.

                                          •     Psychiatrist and primary
                                                clinician contacts may not be
                                                confidential

                                          •     Permits tele-mental health
                                                treatment

                                          •     Permits the following staff
                                                members to act as tele-
                                                presenter: Medical Assistant;
                                                any staff unable to perform their
                                                assigned duties during the
                                                crisis, provided the staff
                                                member has been provided
                                                adequate training; any mental
                                                health provider; an LVN, RN,


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                                                    CAN, Psych Tech; or any
                                                    medical provider

                                               •    Upon discharge from a MAX
                                                    TMHU, and the IDTT
                                                    determines the patient no longer
                                                    requires inpatient mental health
                                                    treatment, then the referral to
                                                    higher level of care shall be
                                                    rescinded

                     Program Guide 12-1-       COVID-19 EOP Temporary Transfer
                     8, 12-4-1, 12-4-4         Guidelines and Workflow
                     (EOP patients housed
                     in designated units       •    In an attempt to limit the
                     only)                          transmission of COVID-19 all
                                                    non-emergency transfers shall
                     Program Guide 12-1-            be immediately curtailed. All
                     16 (timelines for level        movement within a facility can
                     of care transfers)             continue while taking into
                                                    consideration COVID-19 status
                     Program Guide at 12-
                     3-2 to 4, 12-3-11, 12-    •    Inter-facility transfers subject to
                     4-1 to 2, 12-4-8 to 12,        review and approval by regional
                     12-4-18 to 21, 12-9-7          or headquarters staff
                     to 9 (availability of
                     treatment modalities)     •    Outpatient external transfers or
                                                    releases from segregated
                     Program Guide at 12-           housing to mainline mental
                     3-14 to 15, 12-4-14 to         health programs at other
                     15, 12-4-19, 12-4-20,          institutions, to include transfers
                     12-9-6 to 8 (primary           from desert institutions,
                     clinician contacts)            transfers from stand-alone
                                                    ASUs to STRH, CCCMS to
                     Program Guide at 12-           EOP, and EOP to CCCMS, will
                     4-4 to 5 (access to            only occur if the treatment team
                     EOP level of care)             determines, and the Regional
                                                    Clinical Leadership agrees, that
                                                    the transfer is necessitated by an
                                                    imminent, life-threatening


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  Policy,            Program Guide or
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                                                   emergency or serious mental
                                                   health decompensation, and the
                                                   life-threatening condition or
                                                   serious decompensation cannot
                                                   be reasonably treated at current
                                                   institution

                                              •    EOP-level treatment provided
                                                   when full staffing is available;
                                                   otherwise subject to tier status

                                              •    Patients discharged from EOP
                                                   ASU who cannot transfer
                                                   internally to an EOP may be
                                                   placed on a local CCCMS yard

  COVID-19           Program Guide            •    The treatment team shall not be
  Temporary          Chapter 6                     required to complete a new
  Transfer                                         intake evaluation because the
  Restriction                                      treatment team will be the same,
  Psychiatric                                      as the patient continues to
  Inpatient Programs                               remain in the same licensed
  FLEX Guidance                                    unit; however, an intake IDTT
  (May 14, 2020)                                   and updated treatment plan for
                                                   the new level of care will be
                                                   required.

                                              •    While patients receiving
                                                   intermediate and acute inpatient
                                                   care typically will have
                                                   different treatment goals, there
                                                   currently is not a significant
                                                   difference in treatment
                                                   modalities provided to patients
                                                   at the intermediate and acute
                                                   inpatient levels of care

  *Tele-Mental       Stipulation and Order    •    Permits the provision of tele-
  Health             Approving CDCR’s              mental health services beyond
                     Telepsychiatry Policy,        those permitted by the parties’

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  Policy,               Program Guide or
  Memorandum, or        Related Policy
  Guidelines            Provision                 Summary of Departure
  Memorandum            ECF No. 6539                   stipulated telepsychiatry policy,
  (May 22, 2020)        (Mar. 27, 2020)                including by psychologists and
                                                       social workers

  COVID-19              Program Guide at 12-      •    Goal of having patients
  Guidance for Daily    3-2 to 4, 12-3-11, 12-         maintain at least six feet apart
  Program               4-1 to 2, 12-4-8 to 12,        from each other, and attendant
  Regarding Social      12-4-18 to 21, 12-5-           impacts on programming:
  Distancing for Cell   15, 12-5-33 to 34, 12-
  or                    7-7, 12-7-10, 12-8-10,    •    Requires social distancing in
  Alternative/Dorm      12-9-7 to 9, 12-10-14          the workplace
  Style housing of      (availability of
  Eight Persons (May    treatment modalities)     •    Reduced numbers to allow for
  11, 2020) and                                        increased social distancing may
  COVID-19              February 14, 2017              result in no dayroom activities
  Operational           memorandum titled
  Guidelines            Mental Health Crisis      •    Educational programs shall be
  Monitoring and        Bed Privileges                 provided in such a manner as to
  Accountability        Revision, see Dkt.             allow for social distancing, once
  (May 27, 2020)        5864-1 at 349.                 group activities resume. Until
                                                       such time, education materials
                                                       will be provided to housing
                                                       unit/dorm/cells.

                                                  •    The May 27 memo
                                                       operationalizes and creates an
                                                       accountability procedure to
                                                       assure that the modifications to
                                                       programming directed by the
                                                       May 11 Social Distancing
                                                       Guidance are being
                                                       implemented; enforces
                                                       departures directed by the May
                                                       11 Guidance

  *COVID-19 Patient Program Guide 12-1-           •    Provides direction on transfers
  Movement for      16 (timelines for level            between DSH and CDCR that
  Mental Health     of care transfers)                 may impact timeframes




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  Policy,               Program Guide or
  Memorandum, or        Related Policy
  Guidelines            Provision                 Summary of Departure
  Treatment (May        CDCR-DSH MOU        •            Prevents certain individuals
  11, 2020) 2           and PIP Policy                   who otherwise qualify for
                        12.11.2101(A) –                  transfer from CDCR to DSH
                        Referrals and                    from doing so, where the
                        Admissions &                     patient tests positive for
                        Exceptions Addendum              COVID-19 or screens positive
                                                         for COVID-19 risk.
                        Program Guide at 12-
                        3-1 to 2, 12-3-12 to
                        14, 12-4-1, 12-4-13,
                        12-4-16, 12-4-20 to
                        21, 12-5-2, 12-5-15,
                        12-5-26 to 29, 12-5-
                        32, Chapter 6, 12-7-2
                        to 7, 12-7-11, 12-7-12,
                        12-8-5 to 7, 12-8-11 to
                        12, 12-9-4 to 5, 12-9-
                        12 to 14, 12-10-12 to
                        13, 12-10-19 to 21
                        (access to higher
                        levels of care)

  Updated Draft         Program Guide 12-1-       •      Provides direction on transfers
  COVID-19              16 (timelines for level          between DSH and CDCR that
  Temporary             of care transfers)               may impact timeframes
  Guidelines for
  Transfer to DSH       CDCR-DSH MOU        •            Provides additional
  Inpatient Care        and PIP Policy                   individualized clinical review
  (March 1, 2021,       12.11.2101(A) –                  and a COVID-19 screening
  superseding           Referrals and                    process.
  April 15, 2020, May   Admissions &
  15, 2020, June 12,    Exceptions Addendum •            Delays certain individuals who
  2020, June 19,                                         otherwise qualify for transfer

         Defendants issued this policy without negotiating it with Plaintiffs, and the
              2

parties agreed in their May 18, 2020 stipulation that Defendants’ current practices do not
conform with these or any other existing written guidelines. See ECF No. 6676 at 2.
Plaintiffs maintain their objection to this policy, but have agreed to include it here
because Defendants have confirmed that it was issued and has not been rescinded.


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  Policy,                Program Guide or
  Memorandum, or         Related Policy
  Guidelines             Provision                 Summary of Departure
  2020, July 16,         Program Guide at 12-             from CDCR to DSH from doing
  2020,October 20,       3-1 to 2, 12-3-12 to             so, where the patient tests or
  2020, and January      14, 12-4-1, 12-4-13,             screens positive for COVID-19.
  4, 2021 versions) 3    12-4-16, 12-4-20 to
                                                 •        CDCR must order a PCR
                         21, 12-5-2, 12-5-15,
                                                          COVID-19 test no more than
                         12-5-26 to 29, 12-5-
                                                          five days before the projected
                         32, Chapter 6, 12-7-2
                                                          admission date for any patient
                         to 8, 12-7-11, 12-7-12,
                                                          accepted to DSH.
                         12-8-1, 12-8-5 to 7,
                         12-8-9, 12-8-11 to 12, •         For referrals to DSH from a
                         12-9-2 to 3, 12-9-4 to           CDCR institution closed due to
                         5, 12-9-6, 12-9-12 to            a COVID-19 outbreak, patient
                         14, 12-10-12 to 13,              transfers to DSH will occur
                         12-10-19 to 21 (access           where CDCR and DSH decide
                         to higher levels of              there is adequate public health
                         care)                            data demonstrating an
                                                          acceptably low risk of
                                                          COVID-19 exposure. To make
                                                          this decision, CDCR and DSH
                                                          leadership will discuss relevant
                                                          public health information on a
                                                          patient by patient basis,
                                                          including exposure risk,
                                                          availability and use of PPE,
                                                          testing and results, physical
                                                          plant effects on exposure risks,
                                                          and the extent of staff crossover
                                                          between units with active cases
                                                          and those without cases to
                                                          evaluate the possibility of
                                                          transfer. Patients considered for
                                                          transfer pursuant to this process
                                                          will be quarantined for 14 days,
                                                          and tested for COVID-19,

        Plaintiffs maintain their objection to the guidelines, as stated in the October 23,
              3

2020 evidentiary hearing and in Plaintiffs’ post-trial brief, ECF No. 6948 (Nov. 13,
2020).


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  Policy,            Program Guide or
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  Guidelines         Provision            Summary of Departure
                                                followed by a further discussion
                                                between CDCR and DSH
                                                leadership regarding any
                                                interim exposure risks that
                                                occurred during the quarantine
                                                period.

                                          •     Provides direction as to the
                                                transfer of class members with
                                                presumed immunity to
                                                COVID-19 due to prior
                                                infection.

                                          •     Transfers to DSH will not be
                                                held based on a patient’s
                                                vaccination status, unless the
                                                receiving DSH facility cannot
                                                complete the patient’s
                                                vaccination series in accordance
                                                with public health guidance.

                                          •     DSH collaborates at least
                                                weekly with the Special
                                                Master’s experts in small group
                                                meetings to discuss and refine
                                                the referral process, resolve
                                                conflicts and respond to
                                                COVID-19 related impacts on
                                                referrals and transfers due to the
                                                changing nature of the
                                                pandemic.

                                          •     The Special Master continues to
                                                closely monitor all referrals,
                                                rejections and completed
                                                transfers to and from the DSH
                                                inpatient programs, and to
                                                evaluate compliance with the




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  Guidelines             Provision                 Summary of Departure
                                                         Court’s April 24, 2020 Order.
                                                         See ECF Nos. 6622 at 3; 6639.

  Memo re 90-Day         Program Guide 12-3-       •     Permits the provision of a
  Supply of              14 (prescribed                  90-day supply of certain
  Medications for        medication supply for           medications for individuals
  Expedited Releases     CCCMS patients who              subject to expedited release due
  (July 7, 2020)         parole)                         to COVID-19 population
                                                         density reduction measures.
                         Memorandum:
                         Release Planning for      •     Psychiatric providers are
                         Inmates Participating           directed to write medication
                         in the Institution’s            orders, as clinically appropriate
                         Mental Health                   and within legal confines, for a
                         Services Delivery               90-day, rather than 30-day,
                         System (Mar. 11,                duration for those subject to
                         2010) at 4-5, 6                 expedited release.

  Memo re Cell-          Program Guide 12-5-       •     Permits IDTTs to recommend
  Front Nursing          32, 12-10-4, 12-10-15           that nursing staff provide cell-
  Activities (June 26,   to 19 (describing               front activities to patients
  2020)                  suicide watch and
                         observation               •     Requires these activities to be
                         procedures)                     performed while designated
                                                         nursing staff are performing 1:1
                         Memorandum: Level               observations of patients; in the
                         of Observation and              past, nursing staff had only one
                         Property for Patients           primary task during 1:1
                         in Mental Health                observation—observing the
                         Crisis Beds (Mar. 15,           patient
                         2016) at 2 (describing
                         suicide watch as          •     Provides a library of cell-front
                         primarily observation)          nursing activities for patients

  *Institutional         Program Guide at 12-      Based on several factors, including
  Roadmap to             3-2 to 4, 12-3-11, 12-    the number of new COVID-19 cases,
  Reopening (August      4-1 to 2, 12-4-8 to 12,   the availability of adequate testing,
  14, 2020); Memo re     12-4-18 to 21, 12-5-      nursing and custody staff, and PPE,
  Reintroduction of      15, 12-5-33 to 34, 12-    adequacy of physical distancing
  In-Person              7-7, 12-7-10, 12-8-10,    practices, and status of employee


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  Policy,              Program Guide or
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  Guidelines           Provision                 Summary of Departure
  Rehabilitative       12-9-7 to 9, 12-10-14     testing and contract tracing, each
  Programming          (availability of          institution may be placed, at the
  (Sept. 25, 2020)     treatment modalities)     discretion of its Warden and Chief
  (directing                                     Executive Officer, in one of four
  institutions to      Program Guide 12-1-       “phases.” The phases range from
  create plans to      16 (timelines for level   most to least restrictive on the
  implement portions   of care transfers)        institution’s general operation,
  of Roadmap to                                  healthcare services, and inmate
  Reopening); Memo     Program Guide at 12-      programs. Depending on an
  – Clarification –    3-1 to 2, 12-2-8 to 10,   institution’s phase, restrictions may be
  COVID-19             12-3-12 to 14, 12-4-1,    placed on:
  Pandemic and         12-4-13, 12-4-16, 12-
  Guidance             4-20 to 21, 12-5-2, 12- •       Mental health treatment
  Regarding Field      5-15, 12-5-26 to 29,            modalities and quantities that
  Operations (Mar.     12-5-32, Chapter 6,             can be provided
  3, 2021)             12-7-2 to 8, 12-7-11,
                       12-7-12, 12-8-1, 12-8- •        Movement between or within
                       5 to 7, 12-8-9, 12-8-11         institutions or facilities,
                       to 12, 12-9-2 to 3, 12-         including movement to and
                       9-4 to 5, 12-9-6, 12-9-         from restricted housing, to and
                       12 to 14, 12-10-12 to           from desert institutions, and
                       13, 12-10-19 to 21              between levels of care, which
                       (access to higher               may result in class members
                       levels of care)                 remaining in settings not
                                                       designed to provide the level of
                       Memorandum:                     treatment and programming
                       Transfer of                     contemplated by the Program
                       Correctional Clinical           Guide and other negotiated
                       Case Management                 policies for their level of care.
                       System Inmate-
                       Patients to Male Short    •     Out of cell and other yard time
                       Term Restricted
                       Housing Units (Mar.       •     When a facility can safely
                       3, 2016)                        resume in-person programming,
                                                       incarcerated people can
                       Memorandum:                     participate in assigned
                       Creation of                     rehabilitative programs with
                       Correctional Clinical           incarcerated people from
                       Case Management                 different housing units in the
                       System Short Term


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  Policy,            Program Guide or
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  Guidelines         Provision                 Summary of Departure
                     and Long Term                  same facility. They may not
                     Restricted Housing             participate in rehabilitative
                     (Jan. 15, 2015)                programming with individuals
                                                    from different facilities within
                     Memorandum: Short-             the same institution.
                     Term Restricted
                     Housing Mental
                     Health Requirements
                     (Feb. 8, 2016)
                     (mandates movement
                     of CCCMS class
                     members with an ASU
                     term to STRH)

                     Memorandum: Long
                     Term Restricted
                     Housing Mental
                     Health Requirements
                     (Feb. 8, 2016)
                     (mandates movement
                     of CCCMS class
                     members with a SHU
                     term to LTRH)

                     Memorandum: Short-
                     Term and Long-Term
                     Restricted Housing
                     Policies (Feb. 4, 2016)
                     (mandates movement
                     of CCCMS class
                     members with ASU
                     and SHU terms to
                     STRH and LTRH,
                     respectively)

                     Stipulation & Order,
                     ECF No. 6296 (Sept.
                     27, 2019) (approving
                     and attaching policy
                     for reducing transfer


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  Guidelines           Provision                 Summary of Departure
                       timeframes from
                       desert institutions)

  *Movement Matrix     Program Guide 12-1-       For each type of movement between
  (revised Jan. 8,     16 (timelines for level   and within institutions, sets the
  2021), as modified   of care transfers)        COVID-19 testing strategy, required
  by Memo –                                      type of quarantine housing, and
  COVID-19             Program Guide at 12-      process for moving an inmate who
  Screening &          3-1 to 2, 12-2-8 to 10,   refuses a COVID-19 test. In certain
  Testing Matrix for   12-3-12 to 14, 12-4-1,    circumstances, precludes transfer, at
  Movement of          12-4-13, 12-4-16, 12-     least temporarily.
  Newly Resolved       4-20 to 21, 12-5-2, 12-
  Reception Center     5-15, 12-5-26 to 29,    •       Testing, quarantine, and transfer
  Patients to          12-5-32, Chapter 6,             procedures in some cases may
  Institutions (Feb.   12-7-2 to 8, 12-7-11,           impact timeframes for transfers
  19, 2021)            12-7-12, 12-8-1, 12-8-          to higher levels of care, from
                       5 to 7, 12-8-9, 12-8-11         desert institutions and reception
                       to 12, 12-9-2 to 3, 12-         centers, and to and from
                       9-4 to 5, 12-9-6, 12-9-         restricted housing units, which
                       12 to 14, 12-10-12 to           may result in class members
                       13, 12-10-19 to 21              remaining in settings not
                       (access to higher               designed to provide the level of
                       levels of care).                treatment and programming
                                                       contemplated by the Program
                       CDCR-DSH MOU                    Guide and other negotiated
                       and PIP Policy                  policies for their level of care.
                       12.11.2101(A) –
                       Referrals and             •     Limits COVID-19 related
                       Admissions                      processes for transfer of
                                                       recently resolved COVID-19
                       Memorandum:                     patients from the Wasco State
                       Transfer of                     Prison and North Kern State
                       Correctional Clinical           Prison Reception Centers to the
                       Case Management                 patients’ endorsed institutions.
                       System Inmate-
                       Patients to Male Short    •     In certain circumstances,
                       Term Restricted                 including where a patient is
                       Housing Units                   currently housed in isolation or
                       (Mar. 3, 2016)                  quarantine due to a COVID-19
                                                       exposure, or where the patient

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                        Memorandum:                  tests or screens positive for
                        Creation of                  COVID-19, the patient will not
                        Correctional Clinical        transfer until their COVID-19
                        Case Management              status is resolved. These
                        System Short Term            prohibitions on transfers apply
                        and Long Term                to transfers into CDCR
                        Restricted Housing           institutions from reception
                        (Jan. 15, 2015)              centers; to and from levels of
                                                     care and mental health
                        Stipulation & Order,         segregation units within the
                        ECF No. 6296 (Sept.          same institution; and external
                        27, 2019) (approving         transfers other than transfers to
                        and attaching policy         an MHCB or PIP.
                        for reducing transfer
                        timeframes from
                        desert institutions)

  COVID-19              Program Guide           •    Permits audits of PSU and EOP
  Operations EOP        Chapters 7, 8, 9             ASU units to be conducted
  Hub Certification                                  remotely, by video equipment
  Process &             Order, ECF No. 5131          or telephone, due to
  Addendum for          (Apr. 10, 2014);             COVID-19-related staffing
  Certifying Met        Order, ECF No. 5196          limitations
  with Explanation      (Aug. 11, 2014)
  due to COVID-19                              •     If no institution staff are
  Restrictions (Sept.   Defs’ Plans & Policies       available to conduct remote
  11, 2020)             Submitted in Resp. to        audits, then those audits will be
                        Apr. 10, 2014 and            conducted by a regional staff
                        May 13, 2014 Orders,         member
                        ECF No. 5190 at 17-
                        19 (Aug. 1, 2014)      •     COVID-19-related limitations
                                                     or changes to standard audit
                                                     procedure or mental health
                                                     treatment provisions—including
                                                     whether audits are conducted
                                                     remotely or by regional staff,
                                                     groups or other treatment are
                                                     not offered, and IDTTs or ICCs



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                                                     are held in absentia—shall be
                                                     documented on the audit form

                                                •    If an institution’s failure to meet
                                                     certification requirements is due
                                                     purely to COVID-19-related
                                                     restrictions, the institution may
                                                     pass certification “with
                                                     explanation,” assuming certain
                                                     criteria are met. Documentation
                                                     of the rationale for any such
                                                     “with explanation” certification
                                                     is required.

  COVID-19              PIP Policy              •    Creates a process by which
  Psychiatric           12.11.2101(A) –              patients newly admitted to a PIP
  Inpatient Program     Referrals and                will be housed in a single-cell
  Admission Bed         Admissions                   admission bed in the PIP before
  Policy and                                         they are placed in their
  Procedure (Oct. 23,   PIP Policy 12.11.2111        endorsed program. If local
  2020)                 – Housing                    medical or public health staff
                        Review/Least                 deem it necessary, patients
                        Restrictive Housing          transferring within a PIP will
                                                     also initially be placed in an
                                                     admission bed.

                                                •    Patients typically will remain in
                                                     a PIP admission bed for 14 to
                                                     21 days following their
                                                     admission to a PIP.

                                                •    Creates Admission Units, or
                                                     groupings of admission beds in
                                                     PIPs.

                                                •    Creates and implements
                                                     COVID-19 safety protocols
                                                     applicable to each patient in an
                                                     admission bed, including



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                                                quarantine, testing and
                                                screening.

                                          •     If identified admission beds are
                                                full but vacant patient beds exist
                                                in the PIPs, intake of new
                                                patients will not stop. In this
                                                circumstance, PIP leadership
                                                will identify additional
                                                admission beds for quarantining
                                                new admissions to ensure
                                                patient admissions can
                                                continue.

                                          •     Local PIP leadership will
                                                monitor admission unit bed
                                                numbers and identify overflow
                                                admission beds in advance to
                                                ensure the admission units do
                                                not reach capacity.

                                          •     While PIP patients are housed
                                                in an admission bed, their
                                                endorsed non-admission bed in
                                                the PIP will be reserved for
                                                them.

                                          •     While patients are in admission
                                                units, they will receive all
                                                available PIP mental health
                                                services, focusing on patient
                                                orientation, intake evaluation,
                                                and initial treatment planning.
                                                The treatment plan developed
                                                by the admission unit clinical
                                                team will be coordinated with
                                                the receiving treatment team to
                                                which the patient will transition.
                                                Patients in admission units will



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                                                      also be offered property, phone
                                                      calls, yard, and all other
                                                      privileges consistent with
                                                      current policy for all PIP
                                                      patients.

  Guidance for         Program Guide at 12-      •    Provides guidance to
  Mental Health        3-2 to 4, 12-3-11, 12-         institutional mental health staff
  Milestone            4-1 to 2, 12-4-8 to 12,        for allowing class members to
  Completion Credits   12-4-18 to 21, 12-5-           continue to earn milestone
  During COVID-19      15, 12-5-33 to 34, 12-         completion credits during the
  (December 2, 2020)   7-7, 12-7-10, 12-8-10,         pandemic and while receiving
                       12-9-7 to 9, 12-10-14          modified mental health
                       (availability of               treatment activities
                       treatment modalities)
                                                 •    Describes pandemic-related
                       Enhanced Outpatient            modifications to group mental
                       Program Milestone              health treatment typically
                       Credit Group Therapy           offered to class members and a
                       – Required Materials           means of measuring milestone
                       (Sept. 24, 2015)               credits earned pursuant to these
                                                      modified offerings
                       15 C.C.R. §
                       3043.3(f)(2), as
                       incorporated into
                       Compendium of
                       Custody-Related
                       Remedies, 2020
                       Program Guide
                       Revision, Appendix E
                       at 1

  COVID-19 Risk     Program Guide 12-1-          •    Precludes incarcerated people
  Transfers –       16 (timelines for level           with a COVID-19 risk score of
  Revised (November of care transfers)                3 or higher from transferring to
  9, 2020)                                            six institutions (ASP, CIM
                                                      (Facilities A and D), CRC,
                                                      CVSP, FSP, and SQ) or




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  Policy,            Program Guide or
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  Guidelines         Provision            Summary of Departure
                                                facilities within those
                                                institutions.

                                          •     Class members with a
                                                COVID-19 risk score of 3 or
                                                higher will not have access to
                                                the H Unit EOP dorms at SQ,
                                                which consist of two 100-
                                                person Level II dorms.




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 Policies and Procedures for
March 15, 2021 Program Guide
     Departures Update
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          institution to the accepting facility medical director. The discussion will include
          relevant public health information such as potential exposure to infected
          employees and/or inmate patients, effects of physical plant on exposure risk,
          availability and use of PPE, status of serial location-based testing, floating of
          staff to and from relevant units, etc. The discussion will also include a
          consideration of whether the patient is in a presumed immunity period. The
          presumed immunity period is defined as follows:
                      1. If the patient has been asymptomatic - 14 to 90 days after positive
                          test, or
                      2. If the patient has been symptomatic - 14 to 90 days after first
                          symptoms, AND one day without fever without fever reducing
                          medication AND other COVID symptoms have improved, or
                      3. If the patient is immunocompromised and has been symptomatic -
                          20 - 90 days after first symptoms AND one day without fever
                          without fever reducing medication AND other COVID symptoms
                          have improved.
          o) Transfers to DSH will not be held based on vaccination status, unless the
              receiving facility does not have the ability to complete a vaccination series in
              the manner recommended by current public health guidance.


II.      DSH Discharges to CDCR

      a) DSH will send a weekly list of patients who are ready for discharge to CDCR’s
         Inpatient Referral Unit (IRU) and put the COVID screen and discharge packet on
         SharePoint.
      b) Immediately prior to transfer the patient will undergo the current COVID-19 medical
         screening as outlined in Section III below and shall be tested for COVID.
      c) The COVID-19 test results, the date of the test, the date of the result, and screening
         results shall be promptly communicated to the receiving CDCR institution’s Medical
         Director prior to transfer.
      d) Prior to transport IRU will ensure that the Chief Medical Executive at the receiving
         facility is notified and prepared to accept the arrival of the patient.
      e) Transport shall be held until the IRU notifies the Classification and Parole
         Representative that the CME has approved transport.

III.      Information to be provided as a part of current COVID-19 pre-transfer medical
          evaluation

          a) Referring Institution
          b) Receiving Institution
          c) Does the patient have a new or worsening cough? [Y/N]
          d) Does the patient have a fever (>100 F)? [Y/N]
          e) Is the patient experiencing new or worsening shortness of breath? [Y/N]
          f) Is the patient currently on isolation? [Y/N]
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  g) Is the patient currently on quarantine? [Y/N]
  h) Is the patient known to be a contact of a confirmed COVID -19 case? [Y/N]
  i) Include the patient’s vitals for the last 14 days as available

IV.   DSH COVID-19 Admission Protocol

      All new admissions to DSH will follow the following protocol:
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